' UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA . SUPERSEDING INDICTMENT
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SAYFULLO HABIBULLAEVIC SAIPOV, || DOCUMENT
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| DATE FILED: JUN 4.9 2018_ |

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COUNTS ONE THROUGH EIGHT
(Murder in Aid of Racketeering Activity)

The Grand Jury charges:

ISLAMIC STATE OF IRAQ AND AL-SHAM

1. At all relevant times, there existed a foreign
terrorist organization known as, among other names, the Islamic
State of Iraq and al-Sham (“ISIS”). ISIS’s publicly stated
purpose is the establishment of an Islamic state or caliphate .
based in the Middle East and Africa that encompasses all Muslims
worldwide.

2. ISIS has pursued the objective of an Islamic state
through, among other things, killing and deliberate targeting of
civilians, mass executions, persecution of individuals and
communities on the basis of their religion, nationality, or
ethnicity, kidnapping of civilians, forced displacement of Shia
communities and minority groups, killing and maiming of
children, rape, and other forms of sexual violence. ISIS has

recruited thousands of foreign fighters from across the globe to
assist with its efforts to expand its so-called caliphate in
Iraq, Syria, and other locations in Africa and the Middle East,
and has leveraged technology to spread its violent extremist
ideology and for incitement to commit terrorist acts.

3. On October 15, 2004, the U.S. Secretary of State
designated al Qaeda in Iraq (“AQI”), then known as Jam’at al
Tawhid wa’al-Jihad, which was a precursor to ISIS, as a Foreign
Terrorist Organization (“FTO”) under Section 219 of the
Immigration and Nationality Act (“INA”) and as a Specially
Designated Global Terrorist under section 1(b) of Executive
Order 13224.

4. On May 15, 2014, the Secretary of State amended the
designation of AQI as an FTO under Section 219 of the INA and as
a Specially Designated Global Terrorist entity under section
1(b) of Executive Order 13224 to add the alias Islamic State of
Iraq and the Levant as its primary name. The Secretary also
added the following aliases to the FTO listing: ISIS, the
Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-
‘Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furqgan
Establishment for Media Production. In an audio recording
publicly released on June 29, 2014, ISIS announced a formal
change of its name to the Islamic State. On September 21, 2015,

the Secretary added the following aliases to the FTO listing:
Islamic State, ISIL, and ISIS. To date, ISIS remains a

designated FTO.

THE ISIS ENTERPRISE

5. At all times relevant to this Indictment, ISIS,
including its leadership, membership, and associates,
constituted an “enterprise,” as that term is defined in Title
18, United States Code, Section 1959(b) (2) — that is, a group of
individuals associated in fact, although not a legal entity,
which was engaged in, and the activities of which affected,
interstate and foreign commerce. ISIS is an organized terrorist
group based in the Middle East and Africa that operates
worldwide and constitutes an ongoing organization whose members
function as a continuing unit for a common purpose of achieving
the objectives of the Enterprise.

6. ISIS, through its leaders, members, and associates,
engaged in racketeering activity, as defined in Title 18, United
States Code, Section 1959(b) (1) and 1961(1), namely, acts
indictable under: (i) Title 18, United States Code, Section
956(a) (1) (relating to conspiracy to murder, kidnap, or maim
persons abroad); (ii) Title 18, United States Code, Section 1114
(relating to killing or attempted killing of officers and
employees of the United States); (iii) Title 18, United States

Code, Section 2332 (relating to certain homicides and other
violence against United States nationals occurring outside of
the United States); (iv) Title 18, United States Code, Section
2332a (relating to use of weapons of mass destruction); (v)
Title 18, United States Code, Section 2332b (relating to acts of
terrorism transcending national boundaries); (vi) Title 18,
United States Code, Section 2332f (relating to bombing of public
places and facilities); (vii) Title 18, United States Code,
Section 2339A (relating to providing material support to
terrorists); and (viii) Title 18, United States Code, Section
2339B (relating to providing material support to terrorist
organizations).

7. ISIS’s principal purpose is to maintain its self-
proclaimed Islamic state based in the Middle East and Africa,
and to continue conquering territory until ISIS’s caliphate
covers the entire world. ISIS attempts to achieve this goal
through various means including the promotion and execution of
acts of terrorism; preserving and protecting the power,
territory, and profits of ISIS through murder, attempted murder,
and other acts of violence and terrorism; and promoting and
enhancing the Enterprise and the activities of its members and

associates.
MEANS AND METHODS OF THE ENTERPRISE

8. Among the means and methods employed by ISIS’s members
and associates in conducting and participating in the conduct of
the Enterprise’s affairs are the following:

a. ISIS members and associates solicit, organize,
and carry out acts of violence, intimidation, and threats,
including murders, suicide bombings, and kidnappings, and
solicit and cause others to do so, with the intent to establish
a global Islamic state.

b. ISIS members and associates make and disseminate
recruiting materials and propaganda encouraging others to join
ISIS and personally participate in acts of violence, including
in suicide attacks, materials which are distributed over the
Internet to increase and further the public perception of ISIS
as a terrorist organization. These materials include propaganda
designed to encourage ISIS followers to commit acts of violence
using vehicles as weapons. For example, the July 2016 issue of
Dabiq, ISIS’s then-official magazine, praised the “brother” who
answered “the Islamic State’s calls to target nations
participating in the Crusader coalition fighting the Caliphate"
by “killing more than 80 people and injuring more than 300
others” with a truck in an attack that occurred in Nice, France,

on or about July 14, 2016. In September 2016, ISIS changed the

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name of its official magazine from Dabig to Rumiyah. In
November 2016, ISIS released Rumiyah, Issue 3, which has an
article titled “Just Terror Tactics,” which again focused on a
vehicle attack as a primary attack weapon with a secondary
attack using a knife or gun to maximize the “kill count” and
terror.

Cc. ISIS members and associates make and disseminate
recruiting materials and propaganda encouraging others who are
unable to travel to the Middle East to instead conduct attacks
in other countries. For example, on or about March 31, 2015,
the user of Twitter account @AbuHu55ain_, believed to be used at
the time by an ISIS member located in Syria, tweeted: “Lone
Wolfs Rise Up”; “I£ you can’t make the hijrah [i.e., travel to
the Middle East], dont sit at home & give up... ignite a
bomb, stab a kaffir [i.e., the disbelievers or non-Muslims], or
shoot a politican!”; “if you came here, you’d be on the
frontline fighting, right? But u couldn’t come here, so why not
fight the kuffar over there?”; and “i always see in the media
brothers getting caught making hijrah, brothers know that your
jihad is not over just because you got stopped.”

d. ISIS members and associates make and have made
public statements and issued public declarations, which, among

other things: (i) proclaimed and acknowledged acts of violence
had been committed by ISIS; (ii) threatened future acts of
violence if ISIS’s demands were not met; and (iii) were intended
to promote and foster the prestige and standing of ISIS. In
addition to the attack in Nice, France, referenced above, ISIS
has publicly claimed responsibility for the following terrorist
attacks, among others: (1) on or about November 13 and 14, 2015,
a group of attackers carried out attacks in Paris, France, which
killed approximately 130 people; and (2) on or about March 22,
2016, a group of attackers carried out bombings in Brussels,
Belgium, which killed at least 32 people.

e. ISIS members and associates have received money
and other forms of support for ISIS’s activities from
individuals in the United States and elsewhere.

f. ISIS members and associates use instrumentalities
and facilities of interstate and foreign commerce, including
telephones, computers, mail, and wire facilities to communicate,
promote, and conduct the affairs of ISIS.

STATUTORY ALLEGATIONS

9. On or about October 31, 2017, in the Southern District
of New York and elsewhere, SAYFULLO HABIBULLAEVIC SAIPOV, the
defendant, for the purpose of gaining entrance to ISIS, an
enterprise engaged in racketeering activity, as described above,

intentionally and knowingly murdered the eight victims listed
below, that is, with the intent to cause the death of the
victims, did cause the death of the victims and under
circumstances evincing a depraved indifference to human life,
did recklessly engage in conduct which created a grave risk of
death to another person, and thereby caused the death of the
victims, in the vicinity of New York, New York, in violation of

New York Penal Law, Section 125.25.

, Count ff, Victim —

One Diego Enrique Angelini
Two Nicholas Cleves
Three Ann-Laure Decadt
Four Darren Drake

Five Ariel Erlij

Six Hernan Ferruchi
Seven Hernan Diego Mendoza
Hight Alejandro Damian Pagnucco

(Title 18, United States Code, Section 1959(a) (1).)

COUNTS NINE THROUGH SIXTEEN
(Assault with a Dangerous Weapon and Attempted Murder in Aid of
Racketeering Activity)

The Grand Jury further charges:

10. Paragraphs One through Eight of the Indictment are
realleged and incorporated by reference as though fully set forth

herein.
11. On or about October 31, 2017, in the Southern District
of New York and elsewhere, SAYFULLO HABIBULLAEVIC SAIPOV, the
defendant, for the purpose of gaining entrance to ISIS, an
enterprise engaged in racketeering activity, as described above,
intentionally and knowingly assaulted with a dangerous weapon
and attempted to murder the eight victims listed below, in the
vicinity of New York, New York, in violation of New York Penal

Law, Sections 120.05, 125.25 and 110.00.

Count =| 2s Wie im
Ten S.H.
Eleven K.L.
Twelve A.M.
Thirteen D.M.
Fourteen M.M.
Fifteen R.P.
Sixteen M.V.R.

(Title 18, United States Code, Sections 1959 (a) (3)
and 1959(a) (5).)
COUNTS SEVENTEEN THROUGH TWENTY SIX
(Attempted Murder in Aid of Racketeering Activity)

The Grand Jury further charges:

12. Paragraphs One through Eight of the Indictment are
realleged and incorporated by reference as though fully set forth
herein.

13. On or about October 31, 2017, in the Southern District
of New York and elsewhere, SAYFULLO HABIBULLAEVIC SAIPOV, the
defendant, for the purpose of gaining entrance to ISIS, an
enterprise engaged in racketeering activity, as described above,
intentionally and knowingly attempted to murder the ten victims
listed below, in the vicinity of New York, New York, in

violation of New York Penal Law, Sections 125.25 and 110.00.

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Count | ‘Victim
Seventeen I.B.
Eighteen D.T.B.
Nineteen M.C.

Twenty F.D.
Twenty One J.D.
Twenty Two C.G.

Twenty Three N.S.
Twenty Four J.P.T.
Twenty Five L.W.

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Twenty Six Y.Z.

(Title 18, United States Code, Section 1959(a) (5).)

COUNT TWENTY SEVEN
(Provision of Material Support and Resources to a Designated
Foreign Terrorist Organization)

The Grand Jury further charges:

14. Paragraphs One through Eight of the Indictment are
realleged and incorporated by reference as though fully set forth
herein.

15. From at least in or about October 2017, up to and
including on or about November 1, 2017, in the Southern District
of New York and elsewhere, SAYFULLO HABIBULLAEVIC SAIPOV, the
defendant, did knowingly and intentionally provide, and attempt
to provide, “material support or resources,” as that term is
defined in Title 18, United States Code, Section 2339A(b),
namely, services and personnel (including himself), to a foreign
terrorist organization, namely, ISIS, which at all relevant
times was designated by the Secretary of State as a foreign
terrorist organization pursuant to Section 219 of the
Immigration and Nationality Act, knowing that ISIS was a
designated foreign terrorist organization (as defined in Title
18, United States Code, Section 2339B(g) (6)), that ISIS engages
and has engaged in terrorist activity (as defined in section

212(a) (3) (B) of the INA), and that ISIS engages and has engaged

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in terrorism (as defined in section 140(d) (2) of the Foreign
Relations Authorization Act, Fiscal Years 1988 and 1989),
thereby causing the death of at least one person, all in
violation of Title 18, United States Code, Section 2339B(a) (1),
and (i) the offense occurred in whole or in part within the
United States, and (ii) the offense occurred in and affected
interstate and foreign commerce, to wit, SAIPOV drove a truck
onto a bike lane and a pedestrian walkway in New York, New York,
intentionally killing at least eight individuals and injuring
others.

(Title 18, United States Code, Section 2339B.)

COUNT TWENTY EIGHT
(Violence and Destruction of Motor Vehicles)

The Grand Jury further charges:

16. Paragraphs One through Eight of the Indictment are
realleged and incorporated by reference as though fully set forth
herein.

17. On or about October 31, 2017, in the Southern District
of New York and elsewhere, SAYFULLO HABIBULLAEVIC SAIPOV, the
defendant, did willfully, with intent to endanger the safety of
any person on board and of anyone whom he believed would be on
board, and with a reckless disregard for the safety of human
life, damage, disable, and destroy a motor vehicle that was

used, operated, and employed in interstate and foreign commerce,

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thereby causing the death of at least one person, to wit, SAIPOV
damaged a truck that was used, operated, and employed in
interstate and foreign commerce, and that was used for
commercial purposes on the highways in the transportation of
passengers, passengers and property, and property and cargo,
when SAIPOV drove the truck onto a bike lane and a pedestrian
walkway in New York, New York, with reckless disregard for human
life, causing the deaths of at least eight individuals and
injuring others.

(Title 18, United States Code, Sections 33(a), 34.)

SPECIAL FINDINGS AS TO SAYFULLO HABIBULLAEVIC SAIPOV

18. Counts One through Eight and Twenty Eight of the
Indictment are realleged and incorporated by reference as though
fully set forth herein. As to Counts One through Eight and
Twenty Eight of the Indictment, alleging the murders of Diego
Enrique Angelini, Nicholas Cleves, Ann-Laure Decadt, Darren
Drake, Ariel Erlij, Hernan Ferruchi, Alejandro Damian Pagnucco,
and Hernan Diego Mendoza, the defendant SAYFULLO HABIBULLAEVIC
SAIPOV:

a. was eighteen years of age or older at the time of
the offense (Title 18, United States Code, Section 3591 (a) (2));
b. intentionally killed the victims (Title 18,

United States Code, Section 3591 (a) (2) (A));

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Cc. intentionally inflicted serious bodily injury
that resulted in the death of the victims (Title 18, United
States Code, Section 3591(a) (2) (B));

d. intentionally participated in an act,
contemplating that the life of a person would be taken or
intending that lethal force would be used in connection with a
person, other than one of the participants in the offense, and
the victims died as a direct result of the act (Title 18, United
States Code, Section 3591 (a) (2) (C));

e. intentionally and specifically engaged in an act
of violence, knowing that the act created a grave risk of death
to a person, other than one of the participants in the offense,
such that participation in the act constituted a reckless
disregard for human life and the victims died as a direct result
of the act (Title 18, United States Code, Section 3591 (a) (2) (D));

f. caused the deaths of the victims during the
commission and attempted commission of, and during the immediate
flight from the commission of, an offense under Title 18, United
States Code, Section 33 (destruction of motor vehicles) (Title
18, United States Code, Section 3592(c) (1));

g. committed the offense in an especially heinous,

cruel, and depraved manner in that it involved serious physical

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abuse to the victims (Title 18, United States Code, Section
3592(c) (6));

h. committed the offense after substantial planning
and premeditation to cause the death of the victims and to commit
an act of terrorism (Title 18, United States Code, Section
3592(c)(9)); and

i. intentionally killed and attempted to kill more
than one person in a single criminal episode (Title 18, United
States Code, Section 3592(c) (16)).

FORFEITURE ALLEGATION AS TO COUNT TWENTY SEVEN

19. As a result of planning and perpetrating Federal
crimes of terrorism against the United States, as defined in 18
U.S.C. Section 2332b(g) (5), and as alleged in Count Twenty Seven
of this Indictment, SAYFULLO HABIBULLAEVIC SAIPOV, the
defendant, shall forfeit to the United States, pursuant to Title
18, United States Code, Section 981(a)(1)(G) and Title 28,
United States Code, Section 2461:

a. All right, title, and interest in all
assets, foreign and domestic;

b. All right, title and interest in all assets,
foreign and domestic, acquired and maintained with the intent
and for the purpose of supporting, planning, conducting, and

concealing a Federal crime of terrorism against the United

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States, citizens and residents of the United States, and their
property; and

Cc. All right, title and interest in all assets,
foreign and domestic, derived from, involved in, and used and
intended to be used to commit a Federal crime of terrorism
against the United States, citizens and residents of the United
States, and their property;
including but not limited to a sum of money representing the
value of the property described above as being subject to
forfeiture.

Substitute Assets Provision

20. If any of the above-described forfeitable property, as
a result of any act or omission of SAYFULLO HABIBULLAEVIC

SAIPOV, the defendant:

a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited with,

a third person;

Cc. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty,

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it is the intent of the United States, pursuant to 21 U.S.C
§ 853(p), and 28 U.S.C. § 2461 to seek forfeiture of any other
property of the defendant up to the value of the above forfeitable

property.

(Title 18, United States Code, Sections 981{(a) (1) (G), and
2332b(g) (5) and Title 28, United States Code, Section 2461.)

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

- V. -

SAYFULLO HABIBULLAEVIC SAIPOV,

Defendant.

SUPERSEDING INDICTMENT

S117 Cr. 722 (VSB)
(Title 18, United States Code,

Sections 1959(a) (1), 1959(a) (3),1959(a) (5),
2339B, 33(a), 34.)

GEOFFREY S. BERMAN
United States Attorney

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HK Vise Foreperson.
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